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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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CIRA CALABRESE, et al.,

                                   Plaintiffs,
                                                               MEMORANDUM
                 - against -                                   AND ORDER
                                                               CV 02-5171 (DLI) (JO)
CSC HOLDINGS, INC., et al.,

                                    Defendants.
----------------------------------------------------------X

JAMES ORENSTEIN, Magistrate Judge:

        At a conference on March 7, 2006, I made the following rulings regarding discovery:

        1.       By March 10, 2006, the plaintiffs will complete the production of all documents
                 responsive to the outstanding discovery requests, save for those that were both
                 (a) provided to plaintiffs' counsel by persons other than the named plaintiffs and
                 have previously been withheld on grounds of relevance and privilege (the
                 "withheld documents").

        2.       By March 21, 2006, the plaintiffs will produce a log of all the Withheld
                 Documents as defined above. With respect to all documents attributable to any
                 given individual, the log may substitute a pseudonym (such as "Individual A")
                 for that individual's true name, but in all other respects the log must conform to
                 the requirements of Local Civil Rule 26.2.

        3.       By March 17, 2006, the plaintiffs will produce supplemental interrogatory
                 responses for each of the six named plaintiffs. Although the supplements may
                 provide additional information as to any interrogatory, each must at a minimum
                 provide supplemental information about the specific misrepresentations at issue
                 in this litigation and must "identify" witnesses in conformity with the
                 requirements of Local Civil Rule 26.3(c)(3).

        4.       For reasons discussed on the record, I grant the defendants' motion to reconsider
                 my order of December 27, 2005, Docket Entry ("DE") 269. That order was
                 inconsistent with prior rulings in this case by the Honorable Joanna Seybert,
                 United States District Judge, see DE 78 at 7; DE 148 at 10-14, and therefore
                 exceeded my authority. To the extent the plaintiffs seek additional relief in this
                 regard, it is available only from the assigned district judge, if at all.
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      5.     Consistent with Judge Seybert's prior rulings, the defendants may serve limited
             interrogatories on individuals who have been identified as potential members of
             the putative plaintiff class, but who are not yet parties to this litigation.

      6.     In granting reconsideration and permitting the interrogatories, I do not decide
             what relief, if any, may be available to the defendants in seeking to compel
             responses.

      7.     To the extent that the law firm representing the named plaintiffs in this lawsuit
             has previously represented to the court that it also represents any non-party
             individuals on whom the defendants may now serve interrogatories, the
             defendants may serve such interrogatories on the plaintiffs' counsel.

      SO ORDERED.

Dated: Brooklyn, New York
       March 7, 2006
                                                           /s/ James Orenstein
                                                           JAMES ORENSTEIN
                                                           U.S. Magistrate Judge




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